Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 1 of 14 PageID #: 5073




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE
AVADEL CNS PHARMACEUTICALS     )
LLC and AVADEL PHARMACEUTICALS )
PLC,                           )
                               )
              Plaintiffs,      )
                               ) C.A. No. 22-487 (GBW)
        v.                     )
                               )
JAZZ PHARMACEUTICALS, INC. and )
JAZZ PHARMACEUTICALS IRELAND )
LIMITED,                       )
                               )
              Defendants.      )
                               )

                     [PROPOSED] SCHEDULING ORDER

      This ______ day of _________________, 20____, the Court having

conducted an initial Rule 16(b) scheduling conference pursuant to Local Rule

16.l(b), and the parties having determined after discussion that the matter cannot be

resolved at this juncture by settlement, voluntary mediation, or binding arbitration;

      IT IS ORDERED that:

      1.    Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard.

Unless otherwise agreed to by the parties, the parties shall make their initial

disclosures pursuant to Federal Rule of Civil Procedure 26(a)(l) on or before

November 28, 2023. If they have not already done so, the parties are to review the

Court’s Default Standard for Discovery, Including Discovery of Electronically
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 2 of 14 PageID #: 5074




Stored Information (“ESI”), which is posted at http://www.ded.uscourts.gov (see

Other Resources, Default Standard for Discovery) and is incorporated herein by

reference. The parties shall make their ESI Paragraph Three (3) disclosures on or

before November 28, 2023.

      2.     Joinder of Other Parties and Amendment of Pleadings. All motions to

join other parties, and to amend or supplement the pleadings, shall be filed on or

before December 15, 2023. Unless otherwise ordered by the Court, any motion to

join a party or motion to amend the pleadings shall be made pursuant to the

procedures set forth in Paragraphs 3(g) and 4.

      3.     Discovery. Unless otherwise ordered by the Court or agreed to by

parties, the limitations on discovery set forth in the Federal Rules of Civil Procedure

shall be strictly observed.

             (a)    Fact Discovery Cut Off. All fact discovery in this case shall be

initiated so that it will be completed on or before June 14, 2024.

             (b)    Document Production.          Document production shall be

substantially complete by February 23, 2024.

             (c)    Requests for Admission.      A maximum of 100 requests for

admission are permitted for each side.




                                          2
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 3 of 14 PageID #: 5075




             (d)    Interrogatories.

                    (i)    A maximum of 25 interrogatories, including contention

interrogatories, are permitted for each side.

                    (ii)   The Court encourages the parties to serve and respond to

contention interrogatories early in the case. In the absence of agreement among the

parties, contention interrogatories, if filed, shall first be addressed by the party with

the burden of proof. The adequacy of all interrogatory answers shall be judged by

the level of detail each party provides (i.e., the more detail a party provides, the more

detail a party shall receive).

             (e)    Depositions.

                    (i)    Limitation on Hours for Deposition Discovery. Each side

is limited to a total of 70 hours of taking testimony by deposition upon oral

examination.

                    (ii)   Location of Depositions.      Any party or representative

(officer, director, or managing agent) of a party filing a civil action in this district

court must ordinarily be required, upon request, to submit to a deposition at a place

designated within this district. Exceptions to this general rule may be made by order

of the Court. A defendant who becomes a counterclaimant, cross-claimant, or third-

party plaintiff shall be considered as having filed an action in this Court for the

purpose of this provision.


                                           3
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 4 of 14 PageID #: 5076




             (f)    Disclosure of Expert Testimony.

                    (i)     Expert Reports. For the party who has the initial burden

of proof on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2)

disclosure of expert testimony is due on or before August 23, 2024.                  The

supplemental disclosure to contradict or rebut evidence on the same matter identified

by another party is due on or before September 27, 2024. Reply expert reports from

the party with the initial burden of proof are due on or before November 1, 2024.

No other expert reports will be permitted without either the consent of all parties or

leave of the Court. Along with the submissions of the expert reports, the parties

shall advise of the dates and times of their experts’ availability for deposition.

                    (ii)    Objections to Expert Testimony.        To the extent any

objection to expert testimony is made pursuant to the principles announced in

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated

in Federal Rule of Evidence 702, it shall be made by motion no later March 14,

2025.

                    (iii)   Expert Discovery Cut Off. All expert discovery in this

case shall be initiated so that it will be completed on or before January 10, 2025.

             (g)    Discovery Matters and Disputes Relating to Protective Orders.

                    (i)     Any discovery motion filed without first complying with

the following procedures will be denied without prejudice to renew.


                                           4
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 5 of 14 PageID #: 5077




                    (ii)    Should counsel find, after good faith efforts – including

verbal communications among Delaware and Lead Counsel for all parties to the

dispute - that they are unable to resolve a discovery matter or a dispute relating to a

protective over, the parties involved in the discovery matter or protective order

dispute shall submit a joint letter in substantially the following form:

                    Dear Judge Williams:

                          The parties in the above-referenced
                    matter write to request the scheduling of a
                    discovery teleconference.

                           The following attorneys, including at
                    least one Delaware Counsel and at least one
                    Lead Counsel per party, participated in a
                    verbal meet- and-confer (in person and/or by
                    telephone) on the following date(s): ______

                    Delaware Counsel: ________

                    Lead Counsel: ________

                           The disputes requiring          judicial
                    attention are listed below:

                    [provide here a non-argumentative list of
                    disputes requiring judicial attention]

                    (iii)   On a date to be set by separate order, generally not less

than forty-eight (48) hours prior to the conference, the party seeking relief shall file

with the Court a letter, not to exceed three (3) pages, outlining the issues in dispute

and its position on those issues. On a date to be set by separate order, but generally

not less than twenty-four (24) hours prior to the conference, any party opposing the

                                           5
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 6 of 14 PageID #: 5078




application for relief may file a letter, not to exceed three (3) pages, outlining that

party’s reasons for its opposition.

                    (iv)    Each party shall submit two (2) courtesy copies of its

discovery letter and any attachments.

                    (v)     Should the Court find further briefing necessary upon

conclusion of the conference, the Court will order it. Alternatively, the Court may

choose to resolve the dispute prior to the conference and will, in that event, cancel

the conference.

      4.     Motions to Amend.

             (a)    Any motion to amend (including a motion for leave to amend) a

pleading shall NOT be accompanied by an opening brief but shall, instead, be

accompanied by a letter, not to exceed three (3) pages, describing the basis for the

requested relief, and shall attach the proposed amended pleading as well as a

“blackline” comparison to the prior pleading.

             (b)    Within seven (7) days after the filing of a motion in compliance

with this Order, any party opposing such a motion shall file a responsive letter, not

to exceed five (5) pages.

             (c)    Within three (3) days thereafter, the moving party may file a

reply letter, not to exceed two (2) pages, and, by this same date, the parties shall file

a letter requesting a teleconference to address the motion to amend.


                                           6
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 7 of 14 PageID #: 5079




      5.     Motions to Strike.

             (a)    Any motion to strike any pleading or other document shall NOT

be accompanied by an opening brief but shall, instead, be accompanied by a letter,

not to exceed three (3) pages, describing the basis for the requested relief, and shall

attach the document to be stricken.

             (b)    Within seven (7) days after the filing of a motion in compliance

with this Order, any party opposing such a motion shall file a responsive letter, not

to exceed five (5) pages.

             (c)    Within three (3) days thereafter, the moving party may file a

reply letter, not to exceed two (2) pages, and, by this same date, the parties shall file

a letter requesting a teleconference to address the motion to strike.

      6.     Protective Order. The Court has entered a stipulated protective order.

Dkt. 65.

      7.     Papers Filed Under Seal. In accordance with section G of the Revised

Administrative Procedures Governing Filing and Service by Electronic Means, a

redacted version of any sealed document shall be filed electronically within seven

(7) days of the filing of the sealed document.

      8.     Courtesy Copies. The parties shall provide to the Court two (2) courtesy

copies of all filings (i.e., briefs, appendices, exhibits, declarations, affidavits etc.).




                                            7
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 8 of 14 PageID #: 5080




Courtesy copies of appendices and exhibits should include hard tabs. This provision

also applies to papers filed under seal.

      9.     Case Dispositive Motions.

             (a)    All case dispositive motions, an opening brief, and affidavits, if

any, in support of the motion shall be served and filed on or before April 4, 2025.

Briefing will be presented pursuant to the Court’s Local Rules. No case dispositive

motion under Rule 56 may be filed more than ten (10) days before the above date

without leave of the Court.

             (b)    Concise Statement of Facts Requirement.          Any motion for

summary judgment shall be accompanied by a separate concise statement, not to

exceed six (6) pages, which details each material fact which the moving party

contends is essential for the Court’s resolution of the summary judgment motion (not

the entire case) and as to which the moving party contends there is no genuine issue

to be tried. Each fact shall be set forth in a separate numbered paragraph and shall

be supported by specific citation(s) to the record.

      Any party opposing the motion shall include with its opposing papers a

response to the moving party’s concise statement, not to exceed six (6) pages, which

admits or disputes the facts set forth in the moving party’s concise statement on a

paragraph-by-paragraph basis. To the extent a fact is disputed, the basis of the

dispute shall be supported by specific citation(s) to the record. Failure to respond to


                                           8
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 9 of 14 PageID #: 5081




a fact presented in the moving party’s concise statement of facts shall indicate that

fact is not in dispute for purposes of summary judgment. The party opposing the

motion may also include with its opposing papers a separate concise statement, not

to exceed four (4) pages, which sets forth material facts as to which the opposing

party contends there is a genuine issue to be tried. Each fact asserted by the opposing

party shall also be set forth in a separate numbered paragraph and shall be supported

by specific citation(s) to the record.

      The moving party shall include with its reply papers a response to the

opposing party’s concise statement of facts, not to exceed four (4) pages, on a

paragraph-by-paragraph basis. Failure to respond to a fact presented in the opposing

party’s concise statement of facts shall indicate that fact remains in dispute for

purposes of summary judgment.

             (c)    Ranking of Summary Judgment Motions. Any party that files

more than one summary judgment motion shall number each motion to indicate the

order in which the party wishes the Court to review its pending motions. The first

motion the party wishes the Court to consider shall be designated #1, the second

motion shall be designated #2, and so on. The Court will review the party’s summary

judgment motions in the order designated by the party. If the Court decides to deny

a motion filed by the party, barring exceptional reasons determined sua sponte by




                                          9
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 10 of 14 PageID #: 5082




the Court, the Court will not review any lower ranked summary judgment motions

filed by the party.

      10.    Applications by Motion. Except as otherwise specified herein, any

application to the Court shall be by written motion. Any non-dispositive motion

should contain the statement required by Local Rule 7.1.1.

      11.    Motions in Limine. Motions in limine shall not be separately filed. All

in limine requests and responses thereto shall be set forth in the proposed pretrial

order. Each party shall be limited to three (3) in limine requests, unless otherwise

permitted by the Court. The in limine request and any response shall contain the

authorities relied upon; each in limine request may be supported by a maximum of

three (3) pages of argument, may be opposed by a maximum of three (3) pages of

argument, and the party making the in limine request may add a maximum of one

(1) additional page in reply in support of its request. If more than one party is

supporting or opposing an in limine request, such support or opposition shall be

combined in a single three (3) page submission (and, if the moving party, a single

one (1) page reply), unless otherwise ordered by the Court. No separate briefing

shall be submitted on in limine requests, unless otherwise permitted by the Court.

      12.    Pretrial Conference. On [August/September] ___, 2025, the Court will

hold a pretrial conference in Court with counsel beginning at ___ .m. The parties

shall file with the Court the joint proposed final pretrial order in compliance with


                                        10
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 11 of 14 PageID #: 5083




Local Rule 16.3(c) and the Court’s Preferences and Procedures for Civil Cases not

later than seven (7) days before the pretrial conference. Unless otherwise ordered

by the Court, the parties shall comply with the timeframes set forth in Local Rule

16.3(d)(l)-(3) for the preparation of the joint proposed final pretrial order. The Court

will advise the parties at or before the above-scheduled pretrial conference whether

an additional pretrial conference will be necessary.

      The parties shall provide the Court two (2) courtesy copies of the joint

proposed final pretrial order and all attachments. The proposed final pretrial order

shall contain a table of contents and the paragraphs shall be numbered.

      13.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case

is to be tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should

file (i) proposed voir dire, (ii) preliminary jury instructions, final jury instructions,

and (iv) special verdict forms seven (7) full days before the final pretrial conference.

This submission shall be accompanied by a courtesy copy containing electronic files

of these documents, in Microsoft Word format, which may be submitted by e-mail

to gbw_civil@ded.uscourts.gov.

      14.    Trial. This matter is scheduled for a 5 day jury trial beginning at 9:30

a.m. on September ___, 2025 with the subsequent trial days beginning at 9:30 a.m.

Until the case is submitted to the jury for deliberations, the jury will be excused each




                                           11
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 12 of 14 PageID #: 5084




day at 5:30 p.m. The trial will be timed, as counsel will be allocated a total number

of hours in which to present their respective cases.

      15.    ADR Process. This matter is referred to a magistrate judge to explore

the possibility of alternative dispute resolution.

      16.    Page/Word Limitations. Where page limits are specified by order or

rule, the parties shall use a word-count limit. For each page allowed by order or rule,

the parties shall use up to 250 words. For example, where the page limit specified

by rule is 20 pages, the maximum number of words for a party’s submission would

be 5,000 (20 x 250). A certification as to the total number of words must be included

in any submission.

      17.    Font. The text for all briefs, letters, motions, and concise statements of

fact shall be 14-point and in Times New Roman or similar typeface. Each such filing

must include a certification by counsel that the filing complies with the type, font,

and word limitations set forth in this Order.          The person who prepares the

certification may rely on the word count of the word-processing system used to

prepare the filing.

      18.    Compendium of Cases. A party may submit with any briefing two (2)

courtesy copies of a compendium of the selected authorities on which the party

would like the Court to focus.         Compendiums of cases shall not be filed




                                           12
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 13 of 14 PageID #: 5085




electronically with the Court, but a notice of service of a compendium of cases shall

be filed electronically with the Court.

      19.    Relevant Deadlines and Dates.        All relevant deadlines and dates

established by this Order are set forth in the chart attached as Exhibit A.




                                          _______________________________
                                          The Honorable Gregory B. Williams
                                          United States District Judge




                                           13
Case 1:22-cv-00487-GBW Document 70 Filed 11/17/23 Page 14 of 14 PageID #: 5086




                         Chart of All Relevant Deadlines

                           Event                                   Deadline

 26(a)(1) Initial Disclosures                               November 28, 2023

 ESI Paragraph Three (3) disclosures                        November 28, 2023

 All motions to join other parties, and to amend or         December 15, 2023
 supplement the pleadings

 Substantial Completion of Document Discovery               February 23, 2024

 Fact Discovery Cutoff                                      June 14, 2024

 Opening Expert Reports                                     August 23, 2024

 Rebuttal Expert Reports                                    September 27, 2024

 Reply Expert Reports                                       November 1, 2024

 Expert Discovery Cutoff                                    January 10, 2025

 Daubert Motions                                            March 14, 2025

 Case Dispositive Motions served and filed on or            April 4, 2025
 before

 Proposed voir dire, preliminary jury instructions, final   August 8, 2025
 jury instructions, and special verdict forms due

 Pretrial Conference                                        August/September 2025

 Jury Trial Begins (5 days)                                 September 2025




                                         14
